Case 1:20-cr-00073-MAC-KFG Document 23 Filed 10/21/20 Page 1 of 1 PageID #: 69




 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §    CASE NO. 1:20cr73
                                                   §
 PABLO FELIPE ORTIZ CORNEJO                        §


     MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for the

 administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his findings of

 fact and report and recommendation on the defendant’s guilty plea. The magistrate judge

 recommended that the Court accept defendant’s guilty plea. He further recommended that the Court

 finally adjudge defendant as guilty on Count One of the Information. The parties have not objected

 to the magistrate judge’s findings.

          The Court accepts the findings in the report and recommendation. The Court ORDERS that

 Judge Giblin’s report (#17) is adopted. The Court accepts the defendant’s guilty plea but defers

 acceptance of the plea agreement and plea agreement addendum until after review of the

 presentence report. It is finally ORDERED that defendant, Pablo Felipe Ortiz Cornejo, is adjudged

 guilty on Count One of the Information charging a violation of Title 8, United States Code, Section

 1326(a), Unlawful Reentry by a Deported or Removed Alien.


           SIGNED at Beaumont, Texas, this 21st day of October, 2020.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
